                           EXHIBIT 7




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              UNITED STATES of AMERICA
                                    vs
METHODIST LE BONHEUR HEALTHCARE, et al.




                          GARY SHORB
                          August 12, 2022




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                                                Page 185                                                    Page 187
·1· ·BY MR. MARTIN:                                         ·1· ·Q.· · ·What did you base the decision on to invest
·2· ·Q.· · ·Do you want to do the math?                     ·2· ·in, you know, 3-and-a-half million in loan and
·3· ·A.· · ·We did a fair -- no, I trust your math.· We     ·3· ·3-and-a-half million in equity into -- where do
·4· ·did a fair --                                          ·4· ·those numbers come from?
·5· · · · · · · ·MR. ROARK:· I don't know -- I don't know   ·5· ·A.· · ·Fair market valuation of the company.· And,
·6· ·about that.                                            ·6· ·again, you'd have to ask Chris specifics on how we
·7· · · · · · · ·THE WITNESS:· Okay.· Then maybe I don't    ·7· ·decided on 3-and-a-half million loan versus
·8· ·trust your math.                                       ·8· ·3-and-a-half million equity.
·9· ·BY MR. MARTIN:                                         ·9· ·Q.· · ·Did you explain -- did you have to get board
10· ·Q.· · ·Well, let me make sure -- let me ask a          10· ·approval to make this $7 million dollar investment?
11· ·different way.                                         11· ·A.· · ·We did.
12· ·A.· · ·Yeah.                                           12· ·Q.· · ·Okay.
13· ·Q.· · ·If you paid $3-and-a-half million for a         13· ·A.· · ·It was part of the board presentation.
14· ·28 percent share in a company, does it sound right     14· ·Q.· · ·Yeah.· So, if you're -- and you're designated
15· ·to you that that would mean the company was valued     15· ·as a company representative to talk about getting
16· ·at $12-and-a-half million?                             16· ·that approval from the board, which would include,
17· ·A.· · ·Again, I'd have to do the math, but --          17· ·you know, how the company was valued, right?
18· ·Q.· · ·Okay.· But it doesn't sound wrong to you,       18· ·A.· · ·Correct.
19· ·right?· I mean, can we just agree -- can we all        19· ·Q.· · ·Okay.· So as you sit here, do you know -- if
20· ·agree --                                               20· ·the company was valued at $12-and-a-half million,
21· ·A.· · ·Let's agree it's in the ballpark.               21· ·based on your $3-and-a-half million equity buy at
22· ·Q.· · ·All right.· We'll agree it's in the ballpark.   22· ·28 percent, what do you know about where that
23· ·Fair enough.· That's as good as we're going to get.    23· ·$12-and-a-half million number came from?
24· · · · · All right.· I'd like to know a little bit       24· ·A.· · ·We had a fair market value opinion.
25· ·more, Mr. Shorb, just exactly what it was that         25· ·Q.· · ·Uh-huh.


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·1· ·ACORN/Vector was going to do.                          ·1· ·A.· · ·I couldn't tell you who did it, but it was
·2· ·A.· · ·We wanted to continue to do the clinical        ·2· ·north of $10 million.
·3· ·research that was ongoing, and I think at the time     ·3· ·Q.· · ·Okay.· And so what was the decision process
·4· ·of purchase there were, like, 20 different clinical    ·4· ·on the exact, you know, decision that you would
·5· ·research initiatives.· We wanted to continue to        ·5· ·invest 3-and-a-half million for 28 percent?· Like,
·6· ·expand that, and physicians were interested in         ·6· ·where -- you know, if it's -- if it's north of
·7· ·continuing to expand it.                               ·7· ·10 million, let's say it's a range, how did you
·8· · · · · And we wanted to get to phase 1 clinical        ·8· ·settle upon 12-and-a-half million?
·9· ·trials.· And eventually we did, thanks to the fact     ·9· · · · · · · ·MR. ROARK:· Objection.· Object to the
10· ·that we had made that investment.                      10· ·form.
11· ·Q.· · ·What's the difference -- when you say           11· · · · · · · ·THE WITNESS:· That was Chris's decision.
12· ·"clinical research," what's the difference -- when I   12· ·And, again, the board approved the 7 million and
13· ·hear that in this context I naturally assume it's      13· ·left it up to management as to how we would
14· ·drug trials.                                           14· ·specifically invest in the company.
15· ·A.· · ·It is.                                          15· ·BY MR. MARTIN:
16· ·Q.· · ·But it sounds like maybe it's something prior   16· ·Q.· · ·So the board approved -- well, what exac- --
17· ·to -- there's something that happens before you get    17· ·okay, I don't understand that.· What exactly did the
18· ·to do drug trials?                                     18· ·board approve?
19· ·A.· · ·No, in this case it is drug trials, and it's    19· ·A.· · ·As part of the trans- -- the total
20· ·just various levels of drug trials.· Don't ask me to   20· ·transaction, the board approved a $7 million
21· ·explain it.                                            21· ·investment in ACORN/Vector.
22· ·Q.· · ·Okay.                                           22· ·Q.· · ·But only -- 3-and-a-half of that was just a
23· ·A.· · ·I couldn't tell you with any confidence --      23· ·loan?
24· ·Q.· · ·All right.                                      24· ·A.· · ·3-and-a-half was a loan.
25· ·A.· · ·-- but I could tell you generally on it.        25· ·Q.· · ·3-and-a-half was equity buy?



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                                                               Page 253                                                           Page 255
                                                                          ·1· · · · · · · · · · · · E R R A T A
·1· ·of next week or the following week.
                                                                          ·2· · · · · · ·I, GARY SHORB, having read the foregoing
·2· · · · · · · ·MS. SWEET:· I want a copy of the                         · · ·deposition, pages 1 through 254, taken August 12,
·3· ·transcripts.· I don't need it expedited.                             ·3· ·2022, do hereby certify said testimony is a true
·4· · · · · · · ·MR. ROARK:· They'll both read and sign                   · · ·and accurate transcript, with the following
·5· ·as well.                                                             ·4· ·corrections, if any:
·6· · · · · · · · FURTHER DEPONENT SAITH NOT                              ·5· ·PAGE· · LINE· ·SHOULD HAVE BEEN
                                                                          ·6· ·_____· ·_____· _________________________________
·7· · · · · ·(Proceedings concluded at 4:18 p.m.)
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21                                                                        · · ·________________________· · · ____________________
22                                                                        23
23                                                                        · · ·Notary Public· · · · · · · · ·My commission expires:
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·1·   · · · · · · · · REPORTER'S CERTIFICATE
·2
·3·   ·STATE OF TENNESSEE
·4·   ·COUNTY OF Davidson
·5
·6·   · · · · · ·I, Terri Beckham, RMR, CRR, and licensed
·7·   ·Court Reporter, with offices in Nashville,
·8·   ·Tennessee, hereby certify that I reported the
·9·   ·foregoing deposition of GARY SHORB by machine
10·   ·shorthand to the best of my skills and abilities,
11·   ·and thereafter the same was reduced to typewritten
12·   ·form by me.· I am not related to any of the parties
13·   ·named herein, nor their counsel, and have no
14·   ·interest, financial or otherwise, in the outcome of
15·   ·the proceedings.
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